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UNITED STATES DISTRICT COURT
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U.S.A. vs. FREDERICK JACKSON Docket No. 2:02CR20058-013

WES'I`ERN DISTRICT OF TENNESSEE

Petition on Probation and Supervised Release

COMES NOW FREDDIE MCMASTER ll PROBATION OFFICER OF THE COURT presenting
an official report upon the conduct and attitude of Frederick Jackson who was placed on supervision by the
Honorabie Bemice B. Donald sitting in the Court at Memphis, TN on the _Z__Lst_ day of December M Who fixed
the period of supervision at two 121 years*, and imposed the general terms and conditions theretofore adopted by
the court and also imposed special conditions and terms as follows:

 

The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the probation
officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing for the detection
of substance use or abuse.

The defendant shall provide the probation officer access to any requested financial information

The defendant shall not engage in any employment where he has access to other person’s identifications
*Term of Supervised Release began April 7, 2005.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
(PLEASE SEE ATTACHED)

PRAYING TI~IAT THE COURT WILL ORDER a SUMMONS be issued for Mr. Jackson to appear before the
Honorable Bemice B. Donald to answer charges of violation of Supervised Release.

ORDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct.
Considered and ordered this § j day
ofad ,020 and ordered fil o and Executed on /‘) 3 0 05
‘“ now - Mf“”‘“”*’_

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U S. Probation Oflicer

 

 

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with Rule 55 andfor 32(b) FRCrP on

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Jackson, Frederick
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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
THE DEFENDANT HAS VIOLATED THE FOLLOWING CONDITIONS OF SUPERVISED RELEASE:

The defendant shall refrain from any unlawful use of a controlled substance and the defendant shall not
possess a controlled substance.

Mr. Jackson used a controlled substance as evidenced by positive screens for marijuana on May 18, and June 16,
2005, and for cocaine on August l, 2005. On July 22, 2005, he signed a voluntary statement of admission to having
used marijuana on or about Juiy 21, 2005.

The defendant shall submit to drug testing and drug treatment programs as directed by the Probation Office.

On May 3, 2005, Mr. Jackson was referred to the Aicohol and Chemical Abuse Rehabilitation Center (ACAR) to
begin drug testing and treatment While at ACAR he missed six drug screens and six counseling sessions. In
response to his non-compliance, an administrative staffing was held on July 22, 2005, whereby Mr. Jackson was
made aware of the legal consequences of continued noncompliance and a new referral was made for drug treatment
to Dr. Janet Scott and Associates. He has since missed counseling sessions with her on August 3 and 10, 2005, and
failed to report for in-office screening on August 15, 2005. On August 16, 2005, he was discharged from Dr. Scott’s
program due to non-compliance

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l. Defendant Frederick Jackson 4375 Knigi_lt Amold #4 Memphis, TN 38118

 

 

 

 

2. Docket Number (Year-Sequence-Defendant No.) 2:02CR20058-013
3. Districti'Oiiice Westem District of Tennessee §Memphisl
4. Original Sentence Date 12 21 04
month day year

(l_'fdi§”erenr than above):
5. Or'iginal Districthfiice

 

6. Original Docket Number (Year-Sequence-Defendant No.)

 

7. List each violation and determine the applicable grade {B §7Bl .1}:

 

 

 

 

 

Violation{ s} Grade
Usage of a controlled substance (cccaine & marijuana) B
Failure to participate in drug testing/treatment as directed C

8. Most Serious Grade of Violation (B §TBl.l(b) B
9. Criminal History Category w §7B1.4(a))74 IV

10. Range of imprisonment (B §7B1.4(a}) 12-18 months*

*Being originally convicted of a Class D felony, the statutory maximum term of imprisonment is 24 montbs; 18 U.S.C. §3583(e)(3).

11. Sentencing Options for Grade B and C violations Only (Check the appropriate box):

{ } (a)If the minimum term of imprisonment determined under §7Bl.4{Term of Imprisonment) is at least one month
but not more than six months, §7Bl.3(c) (l) provides sentencing options to imprisonment

{ } (b)If the minimum term of imprisonment determined under §7Bl.4(Term of Imprisonment) is more than six
months but not more than ten months, §TBI .3(c) (2) provides sentencing options to imprisonment

{X} (c)If the minimum term of imprisonment determined under §'TBl .4(Term of Imprisonment) is more than ten
months, no sentencing options to imprisonment are available

Mail documents to: United Statee sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

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12. Unsatisf'ied Conditions of Original Sentence

List any restitution, fine, community confinement, horne detention, or intermittent confinement previously imposed in connection with the
sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {_se_e §7B l .3(d)}:

 

 

 

 

Restitution {$) N/A Community Confmement N/A
Fine ($) N/A Home Detenticn N/A
Other N/A Interrnittent Confinement N/A

 

 

13. Supervised Release

If probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of § §5D1 . 1-1 .3 {§_e_e
§§7B 1-3(g)(l)}.

Terrn: N/A to N/A years
If supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible upon
revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release from
imprisonment {B 18 U.S.C. §3583(¢) and §7Bl.3(g)(2)}.
Period of supervised release to be served following release from imprisonment

14. Departu re

List aggravating and mitigating factors that may warrant a sentence outside the app}icable range of imprisonment

 

 

 

 

 

 

 

15. Ofi'rcial Detention Adjustment M §7Bl.3(e)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsyivania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 606 in
case 2:02-CR-20058 Was distributed by fax, mail, or direct printing on
September 6, 2005 to the parties listed

ENNESSEE

 

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Linda Kendall Garner

LAW OFFICE OF LINDA KENDALL GARNER
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Honorable Bemice Donald
US DISTRICT COURT

